

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,754






EX PARTE THOMAS RAY SIDES, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NOS. F04-48562-P IN THE 203RD DISTRICT COURT


FROM DALLAS COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for a writ of habeas corpus. Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of evading
arrest and assault on a public servant. He was sentenced to twenty-five years' imprisonment for each
conviction. The Fifth Court of Appeals affirmed his convictions. Sides v. State, Nos. 05-05-01093-CR
&amp; 05-05-01098-CR (Tex. App.-Dallas, delivered June 6, 2006, no pet.). 

	Applicant contends, among other things, that his appellate counsel rendered ineffective
assistance because counsel failed to timely notify Applicant that his convictions had been affirmed and
failed to advise him of his right to petition for discretionary review pro se.  	

	The trial court entered findings of fact and conclusions of law and recommended that relief
be granted. Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997). We find, therefore, that
Applicant is entitled to the opportunity to file out-of-time petitions for discretionary review of the
judgments of the Fifth Court of Appeals in Cause Nos. 05-05-01093-CR and 05-05-01098-CR that
affirmed his convictions in Case Nos. F04-48560-P and F04-48562-P from the 203rd Judicial District
Court of Dallas County. Applicant shall file his petitions for discretionary review with the Fifth Court
of Appeals within 30 days of the date on which this Court's mandate issues.

	Applicant's remaining claims are dismissed. Ex parte Torres, 943 S.W.2d 469 (Tex. Crim.
App. 1997).


Delivered: September 12, 2007

Do not publish


